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              EXHIBIT 172
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                           UNITED STATES DISTRICT COURT
                          SOUTHERN DISTRICT OF NEW YORK


 Government of the United States Virgin Islands
                      Plaintiff,

         v.                                                 Case No. 1:22-cv-10904-JSR

 JPMorgan Chase Bank, N.A.
                    Defendant/Third-Party
                    Plaintiff.


 JPMorgan Chase Bank, N.A.
                    Defendant/Third-Party
                    Plaintiff,
       v.

 James Edward Staley
                         Third-Party Defendant.


               THIRD-PARTY DEFENDANT JAMES E. STALEY’S
         RESPONSES AND OBJECTIONS TO THE GOVERNMENT OF THE
      UNITED STATES VIRGIN ISLANDS’ FIRST SET OF INTERROGATORIES

       Pursuant to Rules 26 and 33 of the Federal Rules of Civil Procedure, and Rules 26.3 and

33.3 of the Local Civil Rules for the U.S. District Court for the Southern District of New York,

Third-Party Defendant James E. Staley, through undersigned counsel, hereby responds and objects

to the First Set of Interrogatories by Plaintiff Government of the United States Virgin Islands on

March 23, 2023.

                                   GENERAL OBJECTIONS

       The following General Objections apply to each and every interrogatory and form an

integral part of Mr. Staley’s response to each.

        1.     Mr. Staley objects to each interrogatory, definition, and instruction to the extent

that it purports to impose any duties or obligations beyond those affirmatively imposed by the

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Federal Rules of Civil Procedure, Judge Rakoff’s Individual Rules of Practice, and/or the Local

Rules of the Southern District of New York. Mr. Staley will not abide by any request, definition,

or instruction to the extent that it conflicts with, or purports to impose duties and obligations

beyond those imposed by, such rules.

       2.      Mr. Staley objects to each interrogatory to the extent it seeks attorney-client

privileged communications, common-interest communications, joint-defense communications,

attorney work product, or any documents falling under any other applicable privilege, protection,

or immunity. Mr. Staley objects to the disclosure of any privileged or protected information in

response to any interrogatory or otherwise. Mr. Staley further objects on account of the undue

burden of responding to interrogatories that are not tailored to exclude obviously privileged and

non-discoverable information. Inadvertent disclosure of any privileged information shall not

constitute a waiver of any privilege or any other ground for objecting to discovery with respect to

such information, nor shall inadvertent production waive the right of Mr. Staley, or any other

holder of any such privilege, to object to the use of any such information in any proceeding.

Moreover, because Mr. Staley will not offer privileged or protected information, the fact that Mr.

Staley does not specifically object to an individual interrogatory to the extent that it seeks such

privileged or protected information shall not be deemed a waiver.

       3.      Mr. Staley objects to each interrogatory to the extent that it contains, or is based on,

misstatements of fact or inaccurate assumptions. By responding to the interrogatories, Mr. Staley

does not admit, adopt, or acquiesce to any factual or legal contention, assertion, assumption,

characterization, or implication contained in the interrogatories.

       4.      Mr. Staley objects to the interrogatories as unduly burdensome to the extent that

they seek information that is obtainable from a more convenient, less burdensome, or less



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expensive source, or is otherwise appropriately obtainable from another party or person, including

public sources, companies, government agencies, or other parties to this case (such as the third-

party plaintiffs). Mr. Staley will not search publicly available sources, including internet sources,

to provide information responsive to interrogatories.

       5.       Mr. Staley objects to the extent the interrogatories purport to require Mr. Staley to

collect or disclose information that is not in his possession, custody, or control. Mr. Staley will

not search for, collect, or produce information that is in the possession of other persons.

       6.      Mr. Staley objects to all definitions to the extent that they are broader than the

definitions provided in Rule 26.3 of the Local Rules of the U.S. District Court for the Southern

District of New York.       Mr. Staley will interpret the terms “communication,” “document,”

“identify,” parties,” “person,” and “concerning” as provided in Rule 26.3 of the Local Rules of the

U.S. District Court for the Southern District of New York.

       7.      Mr. Staley objects to the definitions of “Any” and “All” as overly broad and unduly

burdensome and as imposing obligations beyond the requirements imposed by the Federal Rules

of Civil Procedure. Mr. Staley will interpret “Any” and “All” in accordance with the requirement

imposed by the Federal Rules of Civil Procedure to conduct a reasonable search without being

subjected to undue burden or expense.

       8.      Mr. Staley objects to the definition of the terms “You” and “Your” as overbroad,

unduly burdensome, vague, and ambiguous and as exceeding the scope of Mr. Staley’s obligations

under the Federal Rules of Civil Procedure. Mr. Staley interprets the terms “You” and “Your” to

refer only to Mr. Staley.

       9.      Mr. Staley objects to the definition of the terms “You” and “Your” as overbroad,

unduly burdensome, vague, and ambiguous and as exceeding the scope of Mr. Staley’s obligations



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under the Federal Rules of Civil Procedure. Mr. Staley interprets the terms “You” and “Your” to

refer only to Mr. Staley.

        10.    Mr. Staley objects to the definition of the term “Person” as overbroad, unduly

burdensome, vague, and ambiguous and as exceeding the scope of Mr. Staley’s obligations under

the Federal Rules of Civil Procedure. In particular, the proposed definition would render

Interrogatory No. 1 unintelligible. Mr. Staley interprets the term “Person” and “Persons” to

encompass only natural persons.

        11.    Mr. Staley objects to the interrogatories, definitions, and instructions as overbroad

and unduly burdensome because these requests lack reasonable date restrictions. Mr. Staley

interprets the interrogatories to seek information from January 1, 2002 through December 31,

2013.

        12.    Mr. Staley expressly reserves the right to supplement these responses, including

these General Objections and the Specific Responses and Objections set forth below.



                         SPECIFIC RESPONSES AND OBJECTIONS

INTERROGATORY NO. 1:                  Identify all Persons at JPMorgan with knowledge regarding

Your relationship with Epstein.



RESPONSE:               Mr. Staley objects to this Interrogatory as vague, ambiguous, overbroad,

and unduly burdensome, to the extent it uses the undefined and vague term “relationship.” Mr.

Staley further objects to this Interrogatory to the extent it seeks information that is protected by

the attorney-client privilege, the work-product doctrine, or any other privilege or protection

recognized under law.



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       Subject to and without waiving the foregoing general and specific objections, Mr. Staley

responds by incorporating by reference his initial disclosures under Rule 26(a). Mr. Staley also

identifies the following individuals:

              Sandy Warner

              Jamie Dimon

              Steve Cutler

              Blythe Masters

              Mary Casey

              John Duffy

              Phil Di Iorio

              Mary Erdoes

              Patrick McHugh

              Jack Kessler

              Labe Jackson

              Catherine Keating

              Nina Shekner

              Jonathan Schwartz

              Lisa Waters

              David Brigstocke

              Juliet Pullis

              Justin Nelson

              Individuals in the compliance, legal, and risk groups, as is reflected in

               contemporaneous documents and communications

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INTERROGATORY NO. 2:                   Identify all JPMorgan executives and employees who

interacted with Epstein including, but not limited to, visiting any Epstein property, including Little

St. James, his New York townhome, his ranch in New Mexico, or elsewhere.



RESPONSE:

       Mr. Staley objects to this Interrogatory as vague, ambiguous, overbroad, and unduly

burdensome, to the extent it uses the undefined and vague phrase “interacted with.” Subject to and

without waiving the foregoing general and specific objections, Mr. Staley identifies the following

individuals:

              Mary Erdoes

              Steve Cutler

              Sandy Warner

              Jack Kessler

              John Duffy

              The JPMorgan banking team handling Mr. Epstein’s accounts



INTERROGATORY NO. 3:                   Identify all clients or potential clients that Epstein referred

to JPMorgan, and any other individuals or entities that Epstein introduced to JPMorgan.

       RESPONSE:               Mr. Staley objects to this Interrogatory as vague, ambiguous,

overbroad, and unduly burdensome, to the extent it uses the undefined and vague phrases “referred

to” and “introduced to.” Subject to and without waiving the foregoing general and specific




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objections, Mr. Staley identifies the following individuals (and any entities affiliated with these

individuals):

               Sergey Brin

               Google LLC

               Sultan Ahmed bin Sulayem

               Ehud Barak

               Peter Mendelson

               Mort Zuckerman

               LeFrak Family

               Highbridge Capital Management, LLC

               Glen Dubin

               Eva Dubin

               Kathryn Ruemmler

               Bill Gates

               Leon Black

               Boris Nikolic

               David Gergen

               Larry Summers

               Nathan Myhrvold

               Kimball Musk

               Elon Musk

               Lex Wexner

               George Mitchell

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             Bill Richardson



Dated: April 20, 2023

                                    As to objections:

                                    By: /s/ Brendan V. Sullivan, Jr.

                                    Brendan V. Sullivan, Jr.
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                                    Counsel for Third-Party Defendant James E. Staley




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                                CERTIFICATE OF SERVICE

       I hereby certify that a true and accurate copy of the foregoing was served on April 20, 2023,

upon the following by email:

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                                             /s/ Stephen L. Wohlgemuth
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